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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AFL-CIO, et al.,
Plaintiffs,
VS. Case No. 1:25-cv-00339-JDB
Department of Labor, et al.,

Defendants.

PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY

In the last two weeks, Plaintiffs have sought emergency relief to ameliorate ongoing
privacy violations resulting from DOGE access to protected agency records. This access harms
Plaintiffs, their members, their affiliates, and the populations they serve. At the same time, the
facts before the Court regarding DOGE access to those records have been in flux and are quickly
evolving. These facts—particularly the scope of DOGE personnel’s ongoing access to protected
systems of records, and the nature and authority of DOGE—are critical to assessing Plaintiffs’
irreparable injuries. These facts are also solely in Defendants’ possession. Tailored discovery
into those limited questions will enable the Court to evaluate Plaintiffs’ forthcoming motion for a
preliminary injunction on a record that answers some of the questions outstanding at the last
hearing.

Assessing Plaintiffs’ irreparable injuries depends on the scope of any disclosures by
Defendant agencies of sensitive material stored on their systems. Defendants have proffered
declarations regarding how DOGE employees may access their records. ECF Nos. 16-1, 31-1,
31-2, 31-3). But those declarations have tensions and inconsistencies with one another and with

public reporting, and leave open substantial additional questions about Defendants’ ongoing
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treatment of the sensitive records in their care. As the Court has observed, this is “a fast-moving
fluid situation,” Transcript of TRO Motion Hearing, ECF No. 41 at 6.

Granting limited, expedited discovery into these issues would be an appropriate exercise
of this Court’s discretion to manage discovery. These issues are well-suited to limited discovery;
further, the nature of Plaintiffs’ claims (challenging unwritten, unacknowledged policy changes
by Defendant Agencies) mean that no administrative record currently exists about key issues to
facilitate judicial review. Order, ECF No. 43 at 1-2 (“some evidence of defendants’
decisionmaking process” is necessary to assess defendants’ actions). And the limited factual
discovery sought by Plaintiffs will enable this Court to assess the need for a preliminary
injunction on a more complete record when that issue is briefed

Proceeding to such limited discovery will also be in the interests of judicial economy.
After two rounds of TRO briefing and hearings, Plaintiffs believe that PI briefing without the
benefit of additional factual development is unlikely to meaningfully advance this Court’s ability
to assess this case. Order, ECF No. 43 at 2 (“Limited discovery could also benefit the Court by
helping it decide additional factual questions necessary to resolving other critical legal issues.’’).
Consistent with the Court’s order from earlier today, Plaintiffs respectfully request that the Court
grant leave to Plaintiffs to take limited, expedited discovery as set forth below..

BACKGROUND AND PROCEDURAL HISTORY

The White House created DOGE and has given it a sweeping mandate that includes, at
least,
e “[MlJodernizing Federal technology and software to maximize governmental

efficiency and productivity,” E.O. 14158 § 1;
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e Overseeing hiring of federal employees at each agency, including assessing
whether any “vacancies for career appointments . . . should not be filled,” E.O.
14210 § 3(b)(ii);

e “[R]jeducing waste, fraud, and abuse,” ECF No. 31 at 1;

e Overseeing the elimination of federal agencies;’

e Ensuring that “presidential executive orders are actually carried out;””

To carry out this mandate, the White House ordered that DOGE be given “full and
prompt access to all unclassified agency records, software systems, and IT systems” throughout
the federal government. EO 14158 § 4(b).

The unclassified records held at federal agencies contain vast amounts of sensitive
information collected about nearly every American. When DOGE began to seek access to
Defendants Department of Labor (“DOL”), Department of Health and Human Services (“HHS”),
and Consumer Financial Protection Bureau (“CFPB”), Plaintiffs initiated (and amended) this
case to try and protect themselves, their members, their affiliates, and the Americans they serve
from unlawful and damaging disclosures of sensitive records. Plaintiffs seek to ensure that
sensitive personal medical and financial information, confidential records reflecting cooperation

with federal law enforcement, competitively sensitive union records, and other data remain

subject to critical legal safeguards. See ECF No. 21 4 170-225; ECF No. 29-1 at 18-22, 37-41.

! Elon Musk (@elonmusk), X, (Feb. 3, 2025, 1:54 AM ET),
https://x.com/elonmusk/status/18863073 16804263979 (Mr. Musk says he spent the weekend
“feeding USAID into the woodchipper”); Elon Musk (@elonmusk), X (Feb. 7, 2025, 4:41 PM),
https://x.com/elonmusk/status/1887979940269666769 (“CFPB RIP”).

2 Interview of President Trump and Elon Musk by Sean Hannity, ‘The Sean Hannity Show,’
White House (Feb. 18, 2025), https:/Awww.whitehouse.gov/remarks/2025/02/interview-of-
president-trump-and-elon-musk-by-sean-hannity-the-sean-hannity-show/.

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I. Factual uncertainty Defendants’ data protections and the resulting scope of
Plaintiffs’ injuries

The likelihood, immediacy, scope, and nature of the harms suffered by Plaintiffs are
partially obscured by uncertainty in the current record concerning the nature of DOGE’s access
to agency records and the nature of DOGE itself. See Order, ECF No. 43 at 2 (“For example,
plaintiffs have thus far asserted theories of standing, likelihood of success on the merits, and
irreparable harm that turn on whether individuals not permitted under the Privacy Act to view
personal information are viewing or will view that information.’’)

Defendants have wielded that uncertainty as a tool to question the harms Plaintiffs are or
will suffer from DOGE’s access to sensitive records. Defendants argue that without more
specificity about alleged violations of systems access protocols, Plaintiffs cannot show that they
are being harmed by improper disclosures of sensitive information. See ECF No. 31 at 11.
Defendants contend that this “is not a data breach case,” and that Plaintiffs have not “explain[ed]
what specific protocols” Defendants are ignoring in granting systems access to DOGE staff. ECF
No. 31 at 10-11.

Defendants also deny the existence of any reviewable agency action. See ECF No. 31 at
17-20. They argue that DOGE Access Policies only reflect existing agency policies being
followed. See id. at 20 (“Plaintiffs cannot claim that every time a policy is followed that it is final
agency action.”).

But Defendants’ own statements and actions amplify factual uncertainty in this Court and
elsewhere. For example, while they deny the existence of any reviewable agency action,
Defendants also submitted declarations that expressly identify new policies accounting for the
entry of DOGE into agency systems. See, e.g., Decl. of Ricky J. Kryger, ECF No. 31-198

(“[G]uidelines have been established for employees carrying out the Executive Order, to protect
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the integrity of DOL’s information systems.”); Decl. of Garey Rice, ECF No. 31-2 47
(describing the “detail agreement that is in place between USDS and HHS” that governs
DOGE’s access to HHS’s systems); Decl. of Adam Martinez, ECF No. 31-3 | 8 (“To the best of
my knowledge, there are written agreements or certifications in place governing the detail of the
six detailees to CFPB.”).

Defendants argue that any DOGE Employees should be considered employees of
agencies to which they are detailed, sidestepping the question of whether disclosure to DOGE
constitutes disclosure outside the host agency. ECF No. 31 at 25-26. But DOGE Employees also
represent to courts that they work at multiple agencies, raising questions about whether they can
validly be considered employees of any agency. See Declaration of Adam Ramada, ECF 16-1 {|
1, 5 (representing that Mr. Ramada is “employed at [DOGE]” but has been “detailed to the
Department of Labor”); Supplemental Declaration of Adam Ramada, Univ. of Calif: Student
Assoc. v. Carter, 1:25-cv-00354, ECF No. 18-2 {| 3-4 (D.D.C. Feb. 16, 2025) (representing that
Mr. Ramada is “on detail” to the Department of Education, where he spends “50-60 hours per
week working at Department [of Education] facilities.”’),

Declarations filed by Defendant Agencies also reveal inconsistencies between agencies,
and with the agencies’ own policies. For example, at the Department of Labor, DOGE
Employees are apparently required to “provide 24 hours’ notice before seeking access to each
DOL IT system to allow DOL an opportunity to meet its obligations” to protect sensitive
systems. Kryger Decl., ECF No. 31-1 § 9. HHS does not purport to have any similar system-by-
system approval regime in place. See Rice Decl., ECF No. 31-2.

There is also ambiguity about the number of DOGE personnel at Defendant Agencies. At

DOL, the Deputy Chief Information Officer responsible for overseeing DOL’s systems security
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is personally aware of the single DOL employee working on the President’s DOGE Agenda, see
Kryger Decl., ECF No. 31-1 § 2, 13, although the role described (“budget review”) is different
from that described by Mr. Ramada the week prior regarding to his work at DOL. See Ramada
Decl. ECF. No. 16-1 4 5 (“improving its information technology and data organization systems
and in obtaining accurate and complete data to inform policy decisions.”). Mr. Ramada had also
told the Court that three USDS employees were detailed to DOL, not one. Jd. 5. At HHS, the
Principal Deputy Assistant Secretary for Operations in the Office of the Assistant Secretary for
Financial Resources merely indicates that he “understand[s] that at least one [DOGE] employee”
has been detailed to HHS. See Rice Decl., ECF No. 31-2 ¥ 5 (emphasis added).

At HHS, the declarant offered by the government explained the contours of the detail
arrangement in place between HHS and DOGE. See Rice Decl. ECF No. 31-2 4 7. At CFPB, the
Chief Operating Officer simply stated that, to the best of his knowledge, there are written
agreements or certifications in place governing the detail of DOGE employees to the CFPB, but
did not purport to have reviewed them or attempt to describe their contents. See Martinez Decl.,
ECF No. 31-3 8.

The CFPB declarant paints a picture of orderly DOGE access to CFPB systems that is
consistent with CFPB policies, noting CFPB’s compliance with “all established procedures to. . .
provide access to the detailees,” and that all access to CFPB systems has been undertaken
“pursuant to CFPB processes.” See id. J] 6, 10. But as the attached declaration from CFPB’s
former Chief Technologist shows, these claims are, at a minimum, implausible. Ex. 1. For
example, Ms. Meyer explains that in her 14 year history at the CFPB, she is not aware of any

employee who has been granted the sort of universal access offered to DOGE staff. Ex. 1 4 8.
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She calls granting such broad access “an unprecedented and very substantial change to Bureau
policies.”

She also explains that the speed with which DOGE staff gained access to CFPB systems
is not compatible with the extensive training CFPB employees are required to undertake prior to
accessing each sensitive system hosted at CFPB. See id. J] 10-17. She calls the CFPB’s assertion
that access to DOGE systems were pursuant to CFPB processes and procedures, ECF No. 31-3
9, “not plausible based on my experiences and knowledge of the CFPB.” Ex. 1 § 29. And she
notes her doubts that DOGE employees would have complied with required financial and ethical
obligations designed to avoid conflicts of interest at CFPB. Jd. 4] 25-28.

This Court previously credited the information in Defendants’ declarations, finding “on
the record before it” Plaintiffs had not established that DOGE was likely to “inappropriately
access confidential business information,” or that DOGE’s access to Defendant Agency systems
likely constituted a new routine use under the Privacy Act. See ECF No. 34 at 1, 8-10. But many
open questions and contradictions remain about the actual policies in place governing DOGE’s
access to agency data, and the adequacy of those policies. And this Court has continued to
express “serious concerns about the privacy concerns raised by this case, and those concerns are
all the graver now that the data includes information on all Americans who rely on Medicare and
Medicaid, as well as countless consumers.” Jd. at 1.

II. Ongoing uncertainty about the nature and structure of DOGE

A critical point of uncertainty in the record is whether DOGE is the kind of entity that
can detail employees to Defendant Agencies under the Economy Act (and thus treat them as

internal to the agencies for the purposes of evaluating whether unlawful disclosures are

occurring). See ECF No. 29-1 at 34-37; ECF No. 31 at 24-27; ECF No. 34 at 7-8.
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Plaintiffs argued that DOGE is not an “agency” for the purposes of the Economy Act,
that it exists purely to advise the President and does not possess any organic statutory authority
that would permit it to enter into Economy Act agreements with Defendant agencies. ECF No.
29-1 at 34-37. Defendants argue that DOGE is not an “agency,” but does constitute an
“instrumentality” that may permissibly enter into Economy Act agreements. See Transcript of
TRO Motion Hearing, ECF No. 41 at 32. This Court concluded that, based on the information
before the Court about DOGE’s functional activities, DOGE most resembles an agency, but
expressly noted the limitations of the current record and briefing to date. ECF No. 34 at 6-7
(“While the record isn’t crystal clear as to these allegations, it is apparent that USDS is
coordinating teams across multiple agencies with the goal of reworking and reconfiguring
agency data, technology, and spending.”’), 7-8 (focusing on the “action” performed by DOGE).

The facts about how DOGE is structured are arguably becoming /ess clear with time. On
February 17, 2025, the White House stated for the first time that Elon Musk is not an employee
of DOGE nor is he the U.S. DOGE Service Administrator. Declaration of Joshua Fisher, State of
New Mexico v. Elon Musk, 1:25-cv-00429, ECF No. 24-1 (D.D.C. Feb. 17, 2025). On February
18, the White House declined to state who the current administrator or leader of DOGE is.* The
same day, another judge in this courthouse expressed concerns about “what appears to be the
unchecked authority of an unelected individual and an entity that was not created by Congress

and over which it has no oversight.” New Mexico, 1:25-cv-00429, ECF No. 29 at 9 (D.D.C. Feb.

3 See Alayna Treene (@alaynatreene), X (Feb. 18, 2025, 1:58 PM EST)
https://x.com/alaynatreene/status/1891925 163425317214 (reporting that the White House Press
Secretary “did not answer directly” who is currently the administrator or leader of DOGE).

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18, 2025). And today (February 19, 2025), President Trump reiterated that Elon Musk is (or at
least was) in charge of DOGE.*

Discovery about the functional structure of DOGE—including who has decision-making
authority over it—is directly relevant to being able to evaluate its status as an agency or
instrumentality to whom Plaintiffs’ sensitive data may be disclosed without causing injury.

III. Plaintiffs’ Proposed Discovery Requests

As described above, the record as it stands in this case leaves substantial questions open
as to (1) what procedures are in place within Defendant Agencies to ensure data in sensitive
systems is protected during DOGE’s reviews of agency operations; (2) whether these procedures
represent departures from existing agency policies; (3) the extent of DOGE employees actual
access to Defendant Agencies’ systems; and (4) the nature of the DOGE office and its
relationship to and authority over DOGE detailees at Defendant Agencies.

To that end, Plaintiffs move for limited expedited discovery to bolster the factual record
in this case. Plaintiffs have attached proposed interrogatories, requests for production, and
limited depositions under Fed. R. Civ. P. 30(b)(6) to this motion as Exhibit 2.

LEGAL STANDARD

Parties may obtain discovery into nonprivileged matters relevant to their claims and

defenses in a case, but the scope of discovery must be
proportional to the needs of the case, considering the importance of the issues at stake in
the action, the amount in controversy, the parties’ relative access to relevant information,

the parties’ resources, the importance of the discovery in resolving the issues, and
whether the burden or expense of the proposed discovery outweighs its likely benefit.

4 See Anna Bower (@AnnaBower), X (Feb. 19, 2025, 6:13 PM EST),
https://x.com/AnnaBower/status/189235 1833630212494 (video clip of President Trump today
saying “I signed an order creating the Department of Government Efficiency and put a man
named Elon Musk in charge.”).

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Fed. R. Civ. P. 26(b)(1).

District courts have “broad discretion over the structure, timing, and scope of discovery.”
Strike 3 Holdings, LLC v. Doe, 964 F.3d 1203, 1208 (D.C. Cir. 2020). The Federal Rules of Civil
Procedure typically provide for discovery pursuant to a discovery plan, developed after the
parties confer prior to a scheduling conference in a case. See Fed. R. Civ. P. 26(f). However,
courts may in their discretion grant expedited discovery without a Rule 26(f) conference, where
the court concludes such discovery is reasonable. Guttenberg v. Emery, 26 F. Supp. 3d 88, 97-98
(D.D.C. 2014).

Reasonableness is a discretionary inquiry, to be considered “in light of all of the
surrounding circumstances.” Jd. at 98 (internal citations and quotations omitted). Five
circumstances that are relevant to a court’s inquiry are: “(1) whether a preliminary injunction is
pending; (2) the breadth of the discovery requests; (3) the purpose for requesting the expedited
discovery; (4) the burden on the defendants to comply with the requests; and (5) how far in
advance of the typical discovery process the request was made.” Jd. (internal citations and
quotations omitted).

ARGUMENT

Plaintiffs briefly address the first and fifth of the reasonableness considerations before
fuller discussion of the others. With regards to the first factor, currently, no preliminary
injunction is pending, although as previously noted, this Court has twice considered motions for
a temporary restraining order, and anticipates a forthcoming motion. ECF 34 at 11, ECF 42 at 3.
With regards to the fifth factor, Plaintiffs acknowledge that this motion is filed in advance of the
typical discovery process. The remaining factors strongly support granting the limited expedited
discovery that Plaintiffs seek.

I. The breadth of the proposed discovery requests is appropriate at this stage.
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Plaintiffs’ proposed discovery requests are “narrowly tailored to reveal information
related to the preliminary injunction as opposed to the case as a whole.” Guttenberg, 26 F. Supp.
3d at 98. Plaintiffs’ proposed discovery requests seek to identify the scope, likelihood, and
magnitude of ongoing potential disclosures of information by Defendants of sensitive
information. See Exhibit 11. This information is critical to assessing irreparable injury for the
purpose of assessing Plaintiffs’ anticipated motion for a preliminary injunction.

The discovery requests also narrowly seek to provide a record for this Court’s review of
Plaintiffs’ preliminary injunction motion in the absence of any administrative record. In cases
where the government denies that reviewable agency action exists, a district court may “exercise
its discretion to permit [] discovery to ascertain the contours of the precise policy at issue.”
Hispanic Affairs Project v. Acosta, 901 F.3d 378, 388 (D.C. Cir. 2018) (internal quotations and
citations omitted). Such an approach is appropriate when “[t]he parties’ litigation positions . . .
obscure[] the issues in [the] case, so it is impossible to discern whether the alleged . . . policy in
fact exists.” Venetian Casino Resort, LLC v. EEOC, 409 F.3d 359, 360 (D.C. Cir. 2005); see also
Florida v. United States, 3:21-cv-1066, 2022 WL 2431442 at *2 (N.D. Fla. June 6, 2022)
(“[B]ecause Defendants deny the existence of the non-detention policy, [Plaintiffs] cannot be
constrained by an administrative record as to that alleged policy.”’) (order on motion to
supplement administrative record); National Law Center on Homelessness and Poverty v. U.S.
Dep’t of Veterans Aff’s, 842 F. Supp. 2d 127, 130-31 (D.D.C. 2012) (In an APA case “where no
administrative record was ever filed . . . plaintiffs would likely be entitled to some discovery to
enable meaningful judicial review.”).

Permitting limited discovery at this point, prior to the production of an administrative

record by Defendants’, is also efficient for the Court and the parties. The temporary restraining

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order briefing and arguments have made clear the key issues in the current factual record. And
the agency action is so novel that creating the administrative record will take effort by
defendants and may itself be the subject of dispute about scope and contents.

The limited requests Plaintiffs proffer to “ascertain the contours” of Defendants’ policies
are substantially narrower than the sorts of broad requests that have been found to be overbroad
for expedited discovery. See, e.g., Plaintiffs’ Expedited Request for Production of Documents to
Defendant, Guttenberg, No. 13-cv-2046, ECF No. 7-3 (D.D.C. Jan. 21, 2014) (requesting “All
documents that refer, relate, or regard the Plaintiffs.”); Attkisson v. Holder, 113 F. Supp. 3d 156,
163 (D.D.C. 2015) (criticizing as overbroad interrogatories that, for example, “require the
identification of ‘any person who has knowledge’ of particular information, “ask for the
identification of individuals with knowledge of the existence of various technologies, untethered
from any knowledge regarding the factual allegations raised in this case,” and “seek[] to obtain
information regarding the White House, despite the complete lack of allegations in the
Complaint regarding the White House or any White House involvement in the matters that are
the subject of this case.”). Indeed, Plaintiffs’ requests focus narrowly on discovery to confirm the
representations made in declarations that Defendants have filed with this Court.

II. Plaintiffs seek discovery for a permissible purpose.

The purpose inquiry “supports a motion for expedited discovery when the plaintiff seeks
to gain evidence to get the court to preserve the status quo.” Attkisson, 113 F. Supp. 3d at 164.
On the other hand, the purpose inquiry is undercut where movants have not acted with
appropriate urgency to seek discovery. This Court has previously found a movant lacked urgency
when they failed to seek expedited discovery shortly after filing a case, instead waiting until
“three weeks after defendants filed their motion to dismiss.” See Guttenberg, 26 F. Supp. 3d at

98-99. Under those facts, this Court concluded that the motion could plausibly be read as an

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attempt to “find off a renewed motion to dismiss” rather than “bolster the viability of their
preliminary injunction motion.” Jd. at 99.

Here, the purpose of discovery is to develop a concrete, consistent record of how
information stored within sensitive systems at Defendant Agencies is being accessed and used.
Plaintiffs’ injuries, and the irreparable harm to Plaintiffs and their members, are caused by the
disclosure of sensitive information by Defendant Agencies to individuals outside of the Agencies
and/or on terms nor contemplated by applicable laws concerning data access. See ECF No. 29-1
at 18-22, 37-41 (describing harms). Developing a record of the actual access to sensitive systems
and agreements and policies that govern systems access will allow for a more concrete
assessment of the ongoing irreparable harm to Plaintiffs.

Further, Plaintiffs have moved with all practicable urgency to file this motion. This Court
denied Plaintiffs’ previous motion for a temporary restraining order on February 14. The next
business day, Plaintiffs provided notice to Defendants and to this Court of this forthcoming
motion, which was then filed the following day. Plaintiffs have no interest in delaying resolution
of their claims in this case, as evidenced by Plaintiffs’ successive motions for temporary
restraining orders and Plaintiffs’ immediate movement for expedited discovery untethered to any
pending motion to dismiss. Rather, Plaintiffs believe that expedited discovery is necessary for
this Court to adequately address any forthcoming motion for a preliminary injunction, and are
moving quickly to build the record needed.

III. The proposed requests do not pose an excessive burden to Defendants.

Expedited discovery requests are not excessive burdensome where the court lacks a basis
to find the burden of discovery “any different from the typical burden of an expedited discovery
request.” Afghan and Iraqi Allies Under Serious Threat Because of their Faithful Service to the

United States v. Pompeo, No. 18-cv-1388, 2019 WL 9598404 at *2-3 (D.D.C. Jan. 30, 2019)
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(granting expedited discovery, including requests for production and depositions pursuant to Fed.
R. Civ. P. 30(b)(6)). Courts have found expedited discovery requests to be overly burdensome
when requests were not “narrowly tailored,” or when the allegations at issue were
“extaordinar[ily] vague[]”. Landwehr v. F.D.I.C., 282 F.R.D. 1, 4 (D.D.C. 2010); see also
Attkisson, 113 F. Supp. 3d at 165 (finding discovery burdensome where the requests were
“overly broad and would require significant time and resources to address.”). Expedited
discovery has also been found too burdensome where movants sought “depositions of former
high-level executives (with, presumably, very busy schedules) living in different parts of the
country,” Landwehr, 282 F.R.D. at 4, and where movants’ proposed interrogatories contained
“more discrete subparts . . . than the maximum of 25 allowed for merits discovery under” Fed. R.
Civ. P. 33(a)(1). Attkisson, 113 F. Supp. 3d at 165.

Plaintiffs’ requests would not represent an unreasonable burden on Defendants. Plaintiffs
propose a limited set of interrogatories and requests for production, and a small number of
abridged depositions pursuant to Fed. R. Civ. P. 30(b)(6).

Even counting all conceivable subparts, Plaintiffs propose to proffer eighteen
interrogatories, well short of the maximum contemplated by the Federal Rules. Ex. 2. The
information sought in Interrogatory 1 and its subparts concern a limited number of individuals—
across all declarations submitted in this case, Defendants appear to have identified only five
DOGE employees detailed to Defendant Agencies. Ramada Decl., ECF No. 16-1 4 5 (identifying
three DOGE detailees to DOL); Rice Decl., ECF No. 31-2 4 5 (identifying one DOGE detailee to
HHS); Martinez Decl., ECF No. 31-3 § 5 (identifying one DOGE detailee to CFPB).

The information sought in proposed Interrogatory No. 1 also should not be overly

burdensome for Defendants to assemble given their representations about the processes followed

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in managing DOGE employees’ access to sensitive systems. At DOL, the agency represents that
any DOGE employees “will provide 24 hours’ notice before seeking access to each DOL IT
system” and “will review and sign all required access agreements for each process or system and
complete a required request form to access DOL information systems.” Kryger Decl., ECF No.
31-3 9.

At CFPB, a detailee provided access to one database “signed all required forms with
privacy statements required to be provisioned proper permissions and accesses,” and DOGE
employees access to CFPB systems was “authorized by the Chief Information Officer pursuant
to CFPB processes and procedures with authorization from [the] Acting Director.” Martinez
Decl., ECF No. 31-3 47, 9.

At HHS, agency leadership is required to supervise DOGE Employees “while performing
HHS work at HHS facilities and on HHS systems,” and DOGE Employees are required to
“TcJomply with all rules, regulations, and restrictions of HHS.” Rice Del., ECF No. 31-2 7.

Existing agency procedures and documentation should substantially minimize any
burdens on Defendants from responding to Plaintiffs’ proposed Interrogatory No. 1. Moreover,
since Plaintiffs seek information about Defendants’ own declarations, Defendants have
presumably already gathered much of the information that Plaintiffs now seek, in order to draft
the declarations in the first instance.

Interrogatory No. 2 and its subparts are even less burdensome, only requiring Defendants
to clarify basic aspects of DOGE’s structure and processes.

Plaintiffs’ seven proposed requests for the production of documents are similarly non-
burdensome, and ask Defendants to produce discrete documentation referred to in the

declarations they have already submitted in this case.

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Finally, Plaintiffs requests for depositions pursuant to 30(b)(6) are not excessively
burdensome. Plaintiffs are mindful of the Court’s statement that “the discovery should be
primarily—if not exclusively—written discovery,” Order, ECF No. 43 at 2, and respectfully
submit that they have tailored their deposition requests to make them as minimally burdensome
as possible. Plaintiffs have limited the requested time for these depositions to half the
permissible time limit under the Federal Rules, and simply seek one knowledgeable
representative about each defendant to answer questions cabined to the narrow scope of
Plaintiffs’ existing interrogatories and document requests. Such limited depositions will serve the
interests of judicial efficiency by advancing resolution of any factual issues left ambiguous
following the production of written discovery.

CONCLUSION

For the foregoing reasons, Plaintiffs request that this Court grant Plaintiffs’ motion for
expedited discovery and grant Plaintiffs leave to serve the attached proposed discovery requests

upon Defendants.

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Dated: February 19, 2025

Respectfully submitted,

/s/ Aman T. George

Mark B. Samburg (D.C. Bar No. 1018533)
Aman T. George (D.C. Bar No. 1028446)
Benjamin Seel (D.C. Bar No. 1035286)
Rachel F. Homer (D.C. Bar No. 1045077)
Robin F. Thurston (D.C. Bar No. 462679)
Somil B. Trivedi (D.C. Bar No. 1617967)
Skye L. Perryman (D.C. Bar No. 984573)

DEMOCRACY FORWARD FOUNDATION
P.O. Box 34553

Washington, D.C. 20043
Telephone: (202) 448-9090

Fax: (202) 796-4426
msamburg@democracyforward.org
ageorge@democracyforward.org
bseel@democracyforward.org
rhomer@democracyforward.org
rthurston@democracyforward.org
strivedi@democracyforward.org
spe an@democracyforward.or

Counsel for Plaintiffs

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